829 F.2d 37Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Roosevelt TAYLOR, JR., Petitioner-Appellant,v.W. P. ROGERS, Warden, Respondent-Appellee.
    No. 87-7093
    United States Court of Appeals, Fourth Circuit.
    Submitted July 31, 1987.Decided September 11, 1987.
    
      Roosevelt Taylor, Jr., appellant pro se.
      Robert B. Condon, Office of the Attorney General, for appellee.
      Before DONALD RUSSELL and MURNAGHAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      A review of the record and the magistrate's opinion discloses that an appeal from his order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the magistrate.  Taylor v. Rogers, C/A No. 86-431-R (E.D.Va., March 18, 1987).
    
    
      2
      DISMISSED.
    
    